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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig "Deepwater        *   MDL NO. 2179
   Horizon" in the Gulf of Mexico, on April       *
   20, 2010                                       *   SECTION J
                                                  *
                                                  *
This document relates to:                         *   Judge Barbier
                                                  *
   All cases                                      *   Magistrate Judge Shushan
                                                  *

                   BRIEF OF DEFENDANT CAMERON TO CONFIRM
                      DISMISSAL OF "RECREATION CLAIMS"

               As ordered by the Court (Doc. 6657, ¶ 3), Cameron International Corporation

("Cameron") respectfully submits this brief to address "Recreation Claims." In its order

resolving the motions to dismiss the B1 claims (Doc. 3830), this Court has already dismissed all

such "Recreation Claims" asserted against Cameron in the First Amended B1 Master Complaint

(Doc. 1128; the "B1 Master Complaint"). Cameron respectfully submits that after briefing on

these and similar claims, the Court should reaffirm dismissal of all the "Recreation Claims"

asserted against Cameron in this proceeding.

       1. The "Recreation Claims" Against Cameron Have Already Been Dismissed.

               The "Recreation Claims" are those claims "by or on behalf of recreational

fishermen, recreational divers, beachgoers, recreational boaters, etc.," alleging "that they have

suffered damages that include loss of enjoyment of life from the inability to use portions of the

Gulf of Mexico for recreation and amusement purposes." Doc. 6657, ¶ 3.

               Cameron moved to dismiss these claims as part of its motion to dismiss all the

claims in the B1 Master Complaint. Doc. 1395. This Court resolved Cameron's motion along




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with all such similar motions in its ruling on the B1 motions to dismiss in Document 3830,

published at 808 F. Supp.2d 943.

               The B1 Master Complaint did not assert a claim against Cameron under the Oil

Pollution Act of 1990 ("OPA"), because Cameron is concededly not a "responsible party" made

directly liable to claimants under OPA. See 33 U.S.C. § 2702(a). In this context it is clear that

this Court's B1 dismissal order dismissed all the "Recreation Claims" in the Master Complaint

that were asserted against Cameron in the B1 Master Complaint.

               "All claims brought under state law are dismissed." 808 F. Supp.2d at 968. In

addition to dismissing state law claims as such, this Court also held that "state law may not be

adopted as surrogate federal law under" the Outer Continental Shelf Lands Act ("OCSLA"),

U.S.C. § 1333(a)(2)(A). 808 F. Supp. 2d at 953.

               Ruling that maritime law claims against Cameron and others who are not OPA

"responsible parties" were not displaced by OCSLA or OPA, the Court nevertheless held that

"[g]eneral maritime law claims that do not allege physical damage to a proprietary interest are

dismissed under the Robins Dry Dock rule, unless the claim falls into the commercial fisherman

exception." 808 F. Supp.2d at 968-69. By definition, the "Recreation Claims" do not allege such

physical injury but do not satisfy the commercial fisherman exception, and are therefore subject

to the Robins Dry Dock rule. By the terms of the B1 Order, therefore, this Court dismissed the

"Recreation Claims" against Cameron under federal law.

       2. Preservation of Cameron's Legal Positions

               As the Court is aware, Cameron's dismissal arguments did not rely on maritime

law. By recounting how the Court has dismissed the "Recreation Claims" against it, Cameron




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does not alter its position on applicable law.

                As Cameron contended in its B1 dismissal brief, Doc. 1395-1, Cameron continues

to submit that the oil spill claims are governed by OCSLA (Doc. 1395-1, pp. 1, 6-13); that

OCSLA preempts the application of state law as such (Doc. 1395-1, pp. 1-2, 21-24); that

OCSLA and OPA together displace general maritime law (Doc. 1395-1, pp. 13-21); and that

state law may not be adopted as surrogate federal law under OCSLA for direct oil spill claims

because under the terms of 43 U.S.C. § 1333(a)(2)(A), adjacent state law (the law of Louisiana)

would be "inconsistent with" OPA as the applicable "other federal law" (Doc. 1395-1, pp. 3-5,

25-29).

          3. Conclusion

                In the end, the proper choice of applicable federal law does not matter.

Cameron's legal positions lead to the same result as the Court's B1 dismissal order. Doc. 1395-1.

All the "Recreation Claims" fail to state a claim against Cameron as a matter of any applicable

state or federal law – OCSLA, OPA, or maritime law. Cameron therefore respectfully requests

that the Court acknowledge and reaffirm that it has dismissed all "Recreation Claims" against

Cameron.




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Respectfully submitted,



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                                CERTIFICATE OF SERVICE

               I hereby certify that the above and foregoing document has been served on All

Counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance with

Pretrial Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of

the United States District Court for the Eastern District of Louisiana by using the CM/ECF

System, which will send a notice of electronic filing in accordance with the procedures

established in MDL 2179, on this 12th day of July, 2012.


                                               /s/ Phillip A. Wittmann




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